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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

 MICHELLE RENE' GILBANK,

          Plaintiff,
                                                           Case No. 20-cv-601-jdp
    v.

 WOOD COUNTY DHS, MARSHFIELD POLICE
 DEPARTMENT, CHILDREN’S HOSPITAL
 OF WISCONSIN, THERESA HEINZEN-JANZ,
 DEREK IVERSON, MARY CHRISTENSEN,
 ANNE LACHAPELLE, MARY SOLHEIM
 GREGORY POTTER, and NICHOLAS BRAZEAU, JR.,

          Defendants.


                               JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of defendants

dismissing this case.




         /s/                                                December 10, 2021
         Peter Oppeneer, Clerk of Court                          Date
